             Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 1 of 56 PageID #:1
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                                    UNITED STATES DISTRICT COURT
                                                                                    FILED
                                                                                          AUG 10 20ts
                                    NORTHERN DISTRICT OF ILLINOIS                                        ffi
                                          EASTERN DIVISION
                                                                                   . TNONANS G. BRUTON
                                                                                   CLERK, U.S. DISTR]CT COURT
        UNITED STATES OF AMERICA, and the
        STATES OF CALIFORNIA, COLORADO,
        CONNECTICUT, DELAWARE, FLORIDA,
        GEORGIA, HAWAII, ILLINOIS, INDIANA,
        IOWA, LOUISIANA, MARYLAND,
        MASSACHUSETTS, MICHIGAN,
        MINNESOTA, MONTANA, NEVADA,
        NEW HAMPSHIRE, NEW JERSEY,                              1:18-cv{5452
        NEW MEXICO, NEW YORK,                                   Judge Ruben Castillo
        NORTH CAROLINA, OKLAHOMA,                               Magistrate Judge Sheila M. Finnegan
        RHODE ISLAND, TENNESSEE, TEXAS,
        VERMONT, VIRGINIA, and WASHINGTON,
        ex rel. T.J. NOVAK,

                      Plaintiffs,                                  Case No.:
                                                                   FILED UNDER SEAL
               v.                                                  JURY TRIAL DEMANDED

        WALGREENS BOOTS ALLIANCE, [NC.,

                      Defendant.

                                                COMPLAINT

        I.     NATURE OF THE ACTION

               1.     This is an action to recover damages and civil penalties on behalf of the United

        States of America under the False Claims Act, 3l U.S.C. S 3129 et seq., as amended, and on

        behalf of the States of Califomia, Colorado, Connecticut, Delaware, Florida, Georgia, Hawaii,

        Illinois, Indiana, Iowa, Louisiana, Maryland, Massachusetts, Michigan, Minnesota, Montana,

        Nevada, New Hampshire, New Jersey, New Mexico, New York, North Carolina, Oklahoma,

        Rhode Island, Tennessee, Texas, Vermont, Virginia, and Washington under their respective

        False Claims Acts, as amended. (Hereinafter, the Federal and State False Claims Acts will be
       Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 2 of 56 PageID #:2




referred to as the "False Claims Act." The United States and the States are hereinafter referred to

as the Govemments.")


       2.      The False Claims Act causes of action under this Complaint arise from false

claims knowingly presented by Defendant, and/or its agents, and employees, to all Federally

funded or State funded prescription drug plans including, but not limited to the Medicaid

program. Medicaid is a health insurance benefit program jointly funded by the Governments.

        3.     Defendant Walgreens Boots Alliance, Inc., knowingly presented or caused to be

presented false claims to Medicaid, or other government funded plans by dispensing controlled

substances including but not limited to Opium extracts, Codeine, Hydrocodone, and Oxycodone

which were not filled by Defendant in compliance with applicable state and/or federal laws and

regulations, and for concealing or avoiding an obligation to refurn money to the Governments

after leaming that prescriptions billed to the Governments were fraudulent, fake, or forged.

IL      PARTIES

       4.      Relator T.J. Novak ("Mr. Novak" or o'Relator") is and has been a registered

pharmacist in Illinois since 1982. Mr. Novak is currently employed as a pharmacist with

Defendant Walgreens Boots Alliance, Inc., commonly known as "Walgreens."

        5.     Defendant Walgreens Boots Alliance, Inc., ("Walgreens") is according to

Walgreens' website, the largest retail pharmacy across the U.S. and Europe. Walgreens

headquarters is located at 108 Wilmot Road, Deerfield, Illinois.

III.   JURISDICTION AND VENUE

        6.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. $ l33l and 31 U.S.C. 5 3732, which specifically confers jurisdiction on this Court for

actions brought pursuant to 31 U.S.C. $$ 3729 and3730.
       Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 3 of 56 PageID #:3




        7   .    This Court has supplemental jurisdiction over the qui tam Relator's state law

claims pursuant to 28 U.S.C. $1367, as those claims are so related to the federal claims that they

form part of the same case and controversy under Article III of the United States Constitution.

This Court also has jurisdiction over the state's claims pursuant to 31 U.S.C. $3732(b), as the

state's claims arise from the same transactions and occurrences as the federal action.

        8.       This Court has personal jurisdiction over Defendant pursuant to 3l U.S.C.

$3732(a), which authorizes nationwide service of process. Defendant transacts business in the

United States. Defendant can be found in, resides in, and/or transacts or has transacted business

related to the allegations in this Complaint within the Northern District of Illinois.

        9.       Venue is proper in this District pursuant to 31 U.S.C. $ 3732(a). and 28 U.S.C. $

1391(b) and (c), as Defendant can be found in, resides in, and/or transacts business in the

Northern District of Illinois.

        10.      This suit is not based upon prior public disclosures of allegations or transactions

in a Federal criminal, civil, or administrative hearing in which the Govemment is aparty,in a

congressional, Government Accountability Office, or other Federal report, hearing, audit, or

investigation, or from the news media.

        I   l.   To the extent that there has been a public disclosure unknown to Relator, Relator

is an original source under 3l U.S.C. $ 3730(e)(a)(B), and 740 ILCS 17sla@)($. Relator has,

prior to a public.disclosure voluntarily disclosed to the Government the information on which

allegations or transactions of a claim are based or, has knowledge that is independent of and

materially adds to the publicly disclosed allegations or transactions, and has voluntarily provided

the information to the Govemments before filing this action under the False Claims Act.
           Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 4 of 56 PageID #:4
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             12.     Relator served on the Attorney General of the United States, the United States

     Attorney for the Northern District of Illinois, and the Attomey General of the Plaintiff States,

     substantially all material evidence and information he possesses in accordance with the

     provisions of 3l U.S.C. $3730(bX2), and the related States claims.

     ry.     THE FBDERAL FALSE CLAIMS ACT

             13.     The False Claims Act, 3l U.S.C. $$ 3729 et seq. prohibits a person from

     presenting or causing to be presented a false or fraudulent claim for payment or approval to the

     United States Government. The False Claims Act provides that any person who violates the

     False Claims Act is liable for a civil penalty of up to $11,000 (as adjusted) for each claim, plus

     three times the amount of damages sustained by the United States. The False Claims Act

     empowers persons with information regarding false or fraudulent claims made to the United

     States, "relators," to bring an action on behalf of the United States and to share in any recovery.

             14.    The False Claims Act, 31 U.S.C. $ 3729(aXl)(A), provides in pertinent part that

     any person who "knowingly presents, or causes to be presented, a false or fraudulent claim for

     payment or appioval . . ." shall be liable to the United States Government.

             15.     The False Claims Act defines the term "claim" to mean "any request or demand,

     whether under a contract or otherwise, for money or property and whether or not the United

     States has title to the money or property. . .;' 3l U.S.C. g 3729(bX2)(A).

             16.    The False Claims Act defines the terms "knowing" and "knowingly" to mean that

     a person, with respect to information: (l) "has actual knowledge of the information"; (2) "acts in


     deliberate ignorance of the truth or falsity of the information"; or (3) "acts in reckless disregard

     of the truth or falsity of the information." 3l U.S.C. $ 3729(b)(1XA). The False Claims Act
           Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 5 of 56 PageID #:5
tl




     further provides that o'no proof of specific intent to defraud" is required. 3 1 U.S.C. $

     372e(bxlXB).

             17.    The Plaintiff States' false claims acts "knowing" definitions are substantially

     similar to the Federal False Claims Act's definition, including the "reckless disregard" and "no

     specific intent to defraud" provisions.

             18.    Defendant Walgreens knowingly submiued false claims to the Govemments by

     filling prescriptions for controlled substances without its pharmacists using sound professional

     judgment to determine the validity of the controlled substance prescription.

             19.    Walgreens also violated the False Claims Act by knowingly concealing and

     avoiding its obligation to return money to the Governments after Walgreens identified

     overpayments related to prescriptions that were filled and billed to the Govemment which

     Walgreens leamed were invalid because the prescriptions were fake, forged or in other ways

     improper and should have been voided.

            20.     The Plaintiff States' False Claims Acts are substantially similar to the Federal

     False Claims Act.

     V.     THE MEDICAID PROGRAM

            21.     Medicaid, Title XIX of the Social Security Act,42 U.S.C. $$1396 et seq.,is a

     progr€lm that provides medical assistance for individuals and families with low incomes. The

     Medicaid program became law in 1965 and is jointly funded by the states and the federal

     government.

            22.     Each Plaintiff State administers its own Medicaid program.
             Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 6 of 56 PageID #:6
tl




     vI.      THE LAW REGARDING THE DISPENSING OF CONTROLLED

     SUBSTANCES.

              23.       According to the United States Department of Justice, pharmacists must use

     sound professional judgment when filling prescriptions for controlled substances.

              24.       The Pharmacist's Manual - SECTION IX* VALID PRESCRIPTION

     R E QU I R E M E NTS C or r e sp o n di n g Re spo ns i b i/iry, states :


              "A pharmacist also needs to know there is a corresponding responsibility for the

     pharmacist who fills the prescription. An order purporting to be a prescription issued not in the

     usual course of professional treatment or in legitimate and authorized research is an invalid

     prescription within the meaning and intent of the CSA [Controlled Substance Act] (21 U.S.C. $

     829). The person knowingly filling such a purported prescription, as well as the person issuing it,

     shall be subject to the penalties provided for violations of the provisions of law relating to

     controlled substances.

              A pharmacist is required to exercise sound professional judement when makins a

     determination about the leeitimacy of a controlled substance prescription. Such a determination

     is made before the prescription is dispensed. The law does not require a pharmacist to dispense a

     prescription of doubtful, questionable, or suspicious origin. To the contrary, the pharmacist who

     deliberately ienores a questionable prescription when there is reason to believe it was not issued

     for a lesitimate medical purpose may be prosecuted along with the issuing practitioner, for

     knowingly and intentionally distributing controlled substances. Such action is a felony offense,

     which may result in the loss of one's business or professional license (see United States v.

     Kershman,555 F.2d 198 [United States Court Of Appeals, Eighth Circuit, 1977))." (Emphasis

     added.) https://www.deadiversion.usdoi.eov/pubs/manuals/pharm2/pharm content.htm#9
      Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 7 of 56 PageID #:7




       25.     While according to the Pharmacist's Manual - Appendix D, "The dispensing

pharmacist must maintain a constant vigilance against forged or altered prescriptions. The CSA

holds the pharmacist responsible for knowingly dispensing a prescription that was not issued in

the usual course of professional treatment." Pharmacist's Guide to Prescription Fraud,

https:,'llvrvlv.cleadiversion.uscloj.gov/pubslmanr"ralslpharrn2/appenclix/appd.x d.htrn

       26.     All Plaintiff States have either established or are in the process of establishing and

participating in a prescription drug monitoring program. "A prescription monitoring program is a

state-administered data collection system used to gather prescription information. [The]

prescription drug monitoring program . . . has proven to be an effective tool for detecting

pharmaceutical diversion and for developing pharmacist and physician medical education

programs. These programs heighten awareness about diversion, prescription drug abuse, drug

trends, and are useful for tracking prescription medication dispensed within a state. In some

states, the data can be used by pharmacists to identifu potential 'doctor shoppers' and those who

attempt to obtain controlled substances by fraud, forgery, or deceit. In the states that have

adopted these prograrns, a large part of their success has been attributed to the pharmacists'

participation. The DEA strongly endorses prescription monitoring programs." United States

Department of Justice, Drug Enforcement Administration, Office of Diversion Control

Pharmacist's Manual, An Informational Outline of the Controlled Substances Act, Revised 2010,

page 39.




        27.    Prescription drug monitoring programs provide pharmacist and other authorized

persons with information including the patient's last name, first name, street address, city, state,

zip, date of birth, date filled, label name, strength, metric quantity/days supply, payment type,
           Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 8 of 56 PageID #:8
af




     pharmacy name/city, and prescriber name. By running a prescription drug monitoring report, a

     pharmacist can see this information and use it to determine'odoctor shoppers," forged

     prescriptions and other indications of a prescription that should not be dispensed with the

     exercise of sound professional judgment.

             28.    The Pharmacist's Manual goes on to state:

             'oPharmacist's Responsibilities The abuse of prescription drugs-especially controlled

     substances-is a serious social and health problem in the United States today. As a healthcare

     professional, pharmacists share responsibility for preventing prescription drug abuse and

     diversion.

             . Pharmacists have a personal responsibility to protect their practice from becoming an

     easy target for drug diversion. They need to know of the potential situations where drug

     diversion can occur, and establish safeguards to prevent drug diversion.

             . The dispensing pharmacist must maintain a constant vigilance against forged or altered

     prescriptions. The CSA holds the pharmacist responsible for knowingly dispensing a prescription

     that was not issued in the usual course of professional treatment."

            29.     Furthermore, "A prescription for a controlled substance to be effective must be

     issued for a legitimate medical purpose by an individual practitioner acting in the usual course of

     his professional practice. The responsibility for the proper prescribing and dispensing of

     controlled substances is upon the prescribing practitioner, but a corresponding responsibility

     rests with the pharmacist who fills the prescription." 2l C.F.R. g 1306.0a(a)

            30.     Walgreens discouraged this vigilance and encouraged its pharmacists to dispense

     all drugs including controlled substances upon presentation of a prescription.
       Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 9 of 56 PageID #:9




        31.     State laws also require pharmacists to dispense controlled substances in good

faith. By way of example, the Illinois Controlled Substance Act, 720ILCS 570/3 12, requires a

pharmacist practitioner to only dispense controlled substances in good faith.

        32.     o"Good
                         faith"'means the prescribing or dispensing of a controlled substance by a

practitioner in the regular course of professional treatment to or for any person who is under his

or her treatment for a pathology or condition other than that individual's physical or

psychological dependence upon or addiction to a controlled substance, except as provided

herein: and application of the term to a pharmacist shall mean the dispensing of a controlled

substance pursuant to the prescriber's order which in the professional judgment of the pharmacist

is lawful. The pharmacist shall be guided by accepted professional standards including, but not

limited to the following, in making the judgment:

        (1) lack of consistency of prescriber-patient relationship,

        (2) frequency of prescriptions for same drug by one prescriber for large numbers of

patients,

        (3) quantities beyond those normally prescribed,

        (4) unusual dosages (recognizing that there may be clinical circumstances where more or

less than the usual dose may be used legitimately),

        (5) unusual geographic distances between patient, pharmacist and prescriber,

        (6) consistent prescribing of habit-forming drugs."

720ILCS 5701102(u).

        33.    These guidelines serve to put pharmacists on notice as to the types of practices

that may indicate that the pharmacist should not dispense the controlled substance. The

dispensing of a controlled substance when one of these factors or other factors is present has
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 10 of 56 PageID #:10




been found to constitute a lack of good faith. The factors stated in Section 5701102(u) are not

intended to be all-inclusive.

        34.    Walgreens discouraged its pharmacist from refusing to fill questionable

prescriptions for controlled substances because Walgreens was more concerned with maintaining

customer relationships, and increasing sales, than dispensing controlled substances in accordance

with good pharmacy practices. Walgreens dispensed controlled substances not in good faith and

not in the exercise of sound professional judgment, resulting in false or fraudulent claims being

submitted to govemment healthcare programs.

       35.     The other State plaintiffs have similar laws, rules or regulations.

       36.     Walgreens maintains centralized control over its pharmacy operations.

V[     WALGREENS'SCHEME TO DEFRAUD.

       37.     Despite the fact that Walgreens knew that it was unlawful for its pharmacists to

dispense controlled substances without the use of sound professional judgement, Walgreens

discouraged its pharmacist from using their sound professional judgement and encouraged its

pharmacists to dispense controlled substances even when factors were present indicating that the

controlled substance could not be dispensed in good faith or with the exercise of sound

professional judgment because the prescriptions were doubtful, questionable, or suspicious.

       38.     Walgreens' control of its billing and prescription dispensing practice are

consistent nationwide. The occurrences as demonstrated in this Complaint, and in the Chicago

area, are consistent with Walgreens' policy and procedures throughout the United States.

       39.     This Complaint's representative examples are related to Oxycodone and

Hydrocodone. However, the fraud described herein is not limited to only those drugs but




                                                 10
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 11 of 56 PageID #:11




includes any drug listed at

https://www.deadiversion.usdoj.eov/schedules/orangebook/c_cs_alpha.pdf.      (Exhibit A.)

        40.    Representative samples of Walgreens' knowingly dispensing of controlled

substances in violation of good pharmacy practices and submitted false claims are included in the

following.

        41.    The prescription history for JM shows Hydrocodone/Acetaminophen (NORCO)

prescriptions being presented from three different prescribers in five months between September

22,2015, and February 11,2016.

        42.    One prescription for JM was from a prescriber located on the 1500 block of West

Chicago Avenue, in Chicago, while another prescriber was located in Glen Ellyn, Illinois.

        43.    JM's prescriptions were billed to and paid by U.S. Scripts Medicaid.

        44. The Walgreens pharmacists who filled these prescriptions were not being guided
by or following professional standards because there was (1), a lack of consistency of prescriber-

patient relationship, (2) an unusual distance between patient and pharmacist (23 miles), and (3)

the consistent prescribing of habit-forming drugs. JM had at least 14 prescriptions for

Hydrocodone/Acetaminophen, Count 120 filled between November 14,2014, and March 14,

2016.

        45.    For patient EW prescriptions were presented from multiple prescribers including:

        a.     Dr. Robert C. Miklos, November 19,2015, for Oxycodone 30 mg, Count 90,

6634 W. Archer, Chicago.

        b.     D. Regina A Uthe PA-C, August 12,2015, for Oxycodone 30 mg, Count 90,2266

N. Lincoln Avenue, Chicago.




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     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 12 of 56 PageID #:12




        c.     Dr. Naveed Muhammad, July 9,2015, Oxycodone 30 mg, Count 90,7531Stony

Island Avenue, Chicago.

        d.     Dr. John Kahler, June 12, 2015,NORCO 101325, Count 120, located at either

5401 S. Wentworth or 5050 S. State Street, Chicago.

        e.     Dr. Keshaua, January 27,2DL5,NORCO 101325, Count 120,7845 S. Cottage

Grove, Chicago. This prescription was filled, and the claim was submitted to and paid by Cigna

Medicare Part q. Patient EW is approximately 30 years of age.

        46.    These prescriptions for EW were filled without good faith as: (1) there is a lack of

consistency of prescriber-patient relationship1' and (2) an unusual geographic distance between

patient and prescriber.

       47.     Patient MV had l5 prescriptions filled for Oxycodone or

Hydrocodone/Acetaminophen between March 10, 201 4, and February 20, 201 5.

       48.     MV had prescriptions filled at Walgreens from prescriber Dr. Facundo B. Dovale

on March 10,2014, for Oxycodone 30 mg, Count 90, and Hydrocodone/Acetaminophen 325110,

Count 120. A prescription for the same controlled substances was filled at Walgreens on April

14,2014.

        49.    On May L9,2014, a prescription was filled for MV at Walgreens from prescriber

Ramon Castro for Oxycodone 30 mg, Count 60 and Hydrocodone/Acetaminophen 325110 #90.

       50.     On July 25,2014, a prescription was filled for MV at Walgreens from prescriber

Dr. Maria Tuason, for Hydrocodone/Acetaminophen 325110, Count 30.

       51.     On August 12,2014, and prescription was filled for MV at Walgreens from

prescriber Dr. William Otero for Oxycodone 30 mg, Count 24.




                                                t2
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 13 of 56 PageID #:13




         52. On September 15, 2014, another prescription was filled for MV at Walgreens
from prescriber Dr. Otero for Oxycodone 30 mg, Count 24.

         53. On Octobe r 7,2014,a prescription was filled for MV at Lake Pharmacy, Chicago,
from prescriber Dr. Singh Randhawa for Hydrocodone/Acetaminophen 325110, Count 30.

         54. On December 15, 2014, a prescription was filled for MV at Walgreen from
prescriber Dr. Akhter for Hydrocodone/Acetaminophen 325110, Count 90.

         55. On December 22,20t4, a prescription was filled for MV at Osco 3296 Chicago
from prescriber Dr. Akhter for Oxycodone 30 mg., Count 90.

         56. On January 24,2015, a prescription was filled for MV at Osco 3341 Wood Dale,
from prescriber Dr. Akhter for Oxycodone 30 mg., Count 90

         57. On January 26,2015, a prescription was filled for MV at Osco 3349 Chicago,
from prescriber Dr. Akhter, for Hydrocodone/Acetaminophen 325110, Count 120.

         58. On February 20,2015, a prescription was filled for MV from prescriber Dr.
Akhter for Oxycodone 30 mg., Count 90.

         59. All of these prescriptions for MV were billed to Illinois Medicaid on or about the
date filled.

         60. These presuiptions for MV were not filled in good faith. These prescriptions
were filled without good faith in that: (1) there is a lack of consistency of prescriber-patient; (2)

multiple pharmacies were used; and (3) there is the consistent prescribing of habit-forming

drugs.

         61. Patient JW had multiple prescriptions filled from various prescribers some with
the same handwriting.




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     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 14 of 56 PageID #:14




        62. On May 19,2015, a prescription for JW from prescriber Amer Husseini for
Hydrocodone/Acetaminophen 10-325, Count 120 was dispensed by Walgreens.

        63. On June t5,2015, a prescription for JW for Hydrocodone/Acetaminophen 10-
325, Count 120 was dispensed by Walgreens.

        64. On July 16,2015, a prescription for JW from prescriber Rudyard Smith for
Hydrocodone/Acetaminophen 10-325, Count 120 was dispensed by Walgreens.

        65. On October 15,2015, a prescription for JW for Hydrocodone/Acetaminophen 10-
325, Count 120 was dispensed by Walgreens.

       66. On January 30,2016, a prescription for JW from prescriber Azzarn Alkhudari for
Oxycodone 30 mg, Count 90 was dispensed by Walgreens.

       67. On March 18,2016, a prescription for JW from prescriber Devina Shah for
Oxycodone 30 mg, Count 90 was dispensed by Walgreens.

       68. On May 18,2016, a prescription for JW from prescriber Rostyslav Szwajkun for
Hydrocodone/Acetaminophen 10-325, Count 120 was dispensed by Walgreens.

        69. On June 28,2016, a prescription for JW from prescriber Bernardo Li for
Oxycodone/Acetaminophen 10-325 .g, Count 90 was dispensed by Walgreens.

       70. For these prescriptions for JW payment was made by US Scripts Medicaid.
       7I   .   For these prescriptions for JW there was a lack of consistency of the prescriber-

patient relationship and multiple prescriptions from different prescribers with the same

handwriting.

       72. Walgreens has knowingly submitted thousands of false claims to Medicaid and
other federal and state funded prescription drug programs.




                                                 t4
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 15 of 56 PageID #:15




V[I. REVERSE FALSE CLAIMS ALLEGATION
        73.     Section 3729(G) of the Federal False Claims Act creates liability for knowingly

concealing or avoiding an obligation to pay or return money to the Government. Medicaid rules

require a person to refund or return any funds received by it to which it was not entitled. An

overpayment must be returned no later than 60 days after the overpayment is identified. An

overpayment not returned by the 60-day deadline is an "obligation" under 3l U.S.C. $ 3729(G).

42 C.F.R. $1320a-7K(d)

        74.     Pharmacy items may be dispensed only when they are in full compliance with

state and federal laws and regulations. See, e.g., Handbook for Pharmacy Services, Chapter P-

208 Filling of Prescriptions. The dispensing of controlled substances based on an invalid

prescription are not covered services. See, e.g.,Illinois Handbook for Providers, Chapter 100,

Section 104. The filling of an invalid prescription results in an improper claim and must be

voided. Id. at Se*. 132.1

        75.     Representative examples of claims not reversed based on Walgreens knowledge

that the prescriptions were fake or forged are stated below.

        76.     On May 29,2014, a fake prescription was filled for Oxycodone 30 mg, Count 60

and billed to WellCare Medicare Part D, for patient LVW.

        77.    An email dated May 29,2014, states: "We just got a phoney oxycodone rx. It was

realized after it was sold that it may be a fake. we faxed the rx to the doctor's office. they called

back saying it was a phoney. the name is xxxx xxx xxxxxx [LVW] (2119134). is there anything

else that needs to be done besides the stars event? thanks" This claim was not reversed.




                                                  l5
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 16 of 56 PageID #:16




       78.     On February 28,2015, patient information for patient JD states'oFake oxy rx from

Dr. MAdisonlll4ll5 CW Double Check any Control RX from this patient Fake Oxy Rx.

2l28l15 - Andre"

       79.     Despite knowing that patient JD presented fake prescriptions for controlled

substances prescriptions for Oxycodone HCL 30 mg, Count 90 were filled by Walgreens on

February 11,2015, January 22,2015, January 7,2015, and December 28, 2014, from Dr.

Madison. These claims were submitted to Aetna Managed Medicaid and were not reversed.

       80.     On January 21,2015, patient comments for patient TW stated, "DO NOT

ACCEPT ANY CONTROLS FROM THIS PATIENT!!!, RUNNING PHONEY RXS FOR

MULTIPLE PATIENTS ON STOLEN BLANKS!!!"

       81.     Despite knowing that this patient was presenting Walgreens with fake

prescriptions, Walgreens filled controlled substance prescriptions for patient TW after January

21,2015. Walgreens submitted claims for these controlled substances and did not reverse the

claims after knowing that the prescriptions were fake and reimbursement from Medicaid was not

authorized.

       82. Prescriptions were filled for patient TW for:
               a.     Hydrocodone/Acetaminophen, Count 120 on March 18,2015

               b.     Hydrocodone/Acetaminophen, Count 120 on January 24,2015

               c.     Oxycodone 30 mg, Count 90 on October 11,2014

               d.     Oxycodone 30 mg, Count 90 on September 25,2014

              e.      Hydrocodone/Acetaminophen, Count 120 on September 10, 2014

              f.      Hydrocodone/Acetaminophen, Count 120 on June 24, 2014.




                                               16
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 17 of 56 PageID #:17




        83. The prescription for TW from January 24,2015, was billed to U.S. Scripts
Medicaid and not reversed.

        84. Patient comment notes for patient TB, last updated January 21,2015, state
"FOLLOW GFE. REFUSED NORCO @3539 ON 9/6/14. 120 NORCO'S FROM A

PODIATRIST PT NEVER BEEN TO BEFORE.gfd norco- verified phoney w/ dr shahida"

        85. Despite knowing that this patient was presenting phony prescriptions for
controlled substances, Walgreens continued to fill controlled substance prescriptions for this

patient after January 21,2015, submitted claims for the prescriptions to Illinois Medicaid and did

not reverse the claims after learning that the prescriptions were fake.

        86.    The following prescriptions were filled for patient TB by Walgreens:

               a.      March 71,2015, Hydrocodone/Acetaminophen 10-325, Count 120

               b.      January 30, 201 5, Hydrocodone/Acetaminophen 10-325, Count 1 20

               c.      January 16,2015, Oxycodone 30 mg, Count 90

               d.      December I l, 201 4, Hydrocodone/Acetaminophen I 0-325, Count I 20

               e.      October 30, 201 4, Hydrocodone/Acetaminophen l0 -325, Count 1 20

               f.      September 26, 20 I 4, Hydrocodone/Acetaminophen 10-325, Count I 20

        87.    All of these prescriptions for controlled substances for TB were submitted to

Illinois Medicaid for payment and not reversed by Walgreen after Walgreens knew that the

prescriptions were fake, that payment was not authorized, and that Walgreens received funds for

which it was not entitled.

       88.     For patient DW the patient information page notes "*VERIFY RX*WATCH

PHONIES*". The patient comments state "FRAUDULENT Rx(s) BROUGHT IN - No




                                                 t7
    Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 18 of 56 PageID #:18




CONTROLS!!! RX NOT filled in GOOD FAITH - Oxycodone - DO NOT FILL - DR

CONFORMNED [sic]." This section was last updated on January 24,2015.

        89.     Despite knowing that patient DW was bringing in fraudulent prescriptions for

controlled substances, Walgreens did not reverse the fake prescription claims submitted to

Medicaid and continued to fill prescriptions for controlled substances after January 24,2015.

        90.     Walgreens filled prescriptions for DW for Hydrocodone/Acetaminophen 10-325,

Count 120 on July 30, 2014, August 31,2014, September 30,2014, December 5,2014,

December 22,2014, and February 15,2015. Walgreens filled prescriptions for Oxycodone 30

mg, Count 90 on November 30,2014, and March 29,2015.

        91.     Walgreens filled prescriptions for controlled substances for DW even after it

knew that patient DW was presenting Walgreens with fraudulent prescriptions. These

prescriptions were billed to Health Springs Managed Medicaid and were not reversed by

Walgreens even after Walgreens knew that these prescriptions were fake, that payment was not

authorized, and that Walgreens received funds to which it was not entitled.

        92.     Walgreens has knowingly concealed or avoided its obligation to pay or return

money to the Government after it received funds to which it was not entitled from Medicaid and

other federal and state funded prescription drug programs.

                                             Count I
                                  (Presentation of False Claim)
                                          United States
                                   (31 u.s.c. $ 372e(a)(lXA))

        93.     Relator incorporates by reference paragraphs I through 96 of this Complaint as if

set forth fully herein.

         94. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to the United States.


                                                 18
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 19 of 56 PageID #:19




        95.     These false or fraudulent claims presented or caused to be presented for payment

by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        96.     By virtue of the false and fraudulent claims made by Walgreens, the United States

suffered damages and therefore is entitled to damages, to be determined attrial,plus a civil

penalty for each violation.

                                             Count 2
                                  (Presentation of False Claim)
                                            California
                              (Cal. Gov't Code Ann. g 12651(a)(l))

        97.     Relator incorporates by reference paragraphs 1 through 96 of this Complaint as if

set forth fully herein.

        98.     Defendant Walgreens knowingly presented, or caused to be presented, false and

fraudulent claims for payment or approval to Califomia.

        99.     These false or fraudulent claims presented or caused to be presented for payment

by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

         100. By virtue of the false and fraudulent claims made by Walgreens, California
suffered damages and therefore is entitled to damages, to be determined attrial, plus a civil

penalty for each violation.




                                                l9
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 20 of 56 PageID #:20




                                               Count 3
                                   (Presentation of False Claim)
                                              Colorado
                              (Colo. Rev. Stat. Ann. $ 25.5-4-305(1Xa))

        l0l . Relator incorporates by reference paragraphs I through 96 of this Complaint as if

set forth fully herein.

        102. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to Colorado.

        103. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

         104. By virtue of the false and fraudulent claims made by Walgreens, Colorado
suffered damages and therefore is entitled to damages, to be determined at trial, plus a civil

penalty for each violation.

                                              Count 4
                                   (Presentation of False Claim)
                                           Connecticut
                                (Conn. Gen. Stat. Ann. $ a-275(a)(l))

        105. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

         106. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to a Connecticut health or human services program.

        107. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions




                                                 20
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 21 of 56 PageID #:21




which were not dispensed as required with the pharmacist exercising sound professional

judgment.

            108. By virtue of the false and fraudulent claims made by Walgreens, Connecticut
suffered damages and therefore is entitled to damages, to be determined at trial, plus a civil

penalty for each' violation.

                                              Count 5
                                   (Presentation of False Claim)
                                             Delaware
                                 (Del. Code Ann. tit. 6, g 1201(a)(1))

        109. Relator incorporates by reference paragraphs 1 through 96 of this Complaint as if
set forth fully herein.

        I10. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to Delaware.

        I   11. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        ll2.      By virtue of the false and fraudulent claims made by Walgreens, Delaware

suffered damages and therefore is entitled to damages, to be determined attrial,plus a civil

penalty for each violation.

                                              Count 6
                                   (Presentation of False Claim)
                                               Florida
                                   (Fla. Stat. Arur. $ 68.082(2)(a))

        113. Relator incorporates by reference paragraphs 1 through 96 of this Complaint as if
set forth fully herein.




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     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 22 of 56 PageID #:22




        ll4.      Defendant Walgreens knowingly presented, or caused to be presented, false and

fraudulent claims for payment or approval to Florida.

        115. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        116. By virtue of the false and fraudulent claims made by Walgreens, Florida suffered
damages and therefore is entitled to damages, to be determined at trial, plus a civil penalty for

each violation.

                                              Count 7
                                   (Presentation of False Claim)
                                              Georgia
                                 (Ga. Code Ann. $ 49-4-168.1(a)(1)

        117. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        118. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to the Georgia Medicaid program.

        I19. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        120. By virtue of the false and fraudulent claims made by Walgreens, Georgia suffered
damages and therefore is entitled to damages, to be determined at trial, plus a civil penalty for

each violation.




                                                 22
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 23 of 56 PageID #:23




                                               Count 8
                                    (Presentation of False Claim)
                                               Hawaii
                                (Haw. Rev. Stat. Arm. $ 661-21(a)(1))

        l2l.      Relator incorporates by reference paragraphs 1 through 96 of this Complaint as if

set forth fully herein.

        122. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to Hawaii.

        123. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

         124. By virtue of the false and fraudulent claims made by Walgreens, Hawaii suffered
damages and therefore is entitled to damages, to be determined attrial, plus a civil penalty for

each violation.

                                               Count 9
                                    (Presentation of False Claim)
                                               Illinois
                                (740 Ill. Comp. Stat. $175l3(aXlXA))

        125. Relator incorporates by reference paragraphs 1 through 96 of this Complaint as if
set fonh fully herein.

        126. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to Illinois.

        127. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions




                                                  23
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 24 of 56 PageID #:24




which were not dispensed as required with the pharmacist exercising sound professional

judgment.

         128. By virtue of the false and fraudulent claims made by Walgreens, Illinois suffered
damages and therefore is entitled to damages, to be determined attial, plus a civil penalty for

each violation.

                                             Count 10
                                   (Presentation of False Claim)
                                              Indiana
                                (Ind. Code Arm. $ 5-ll-5.7-2(aXl))

        129. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set fonh fully herein.

        130. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to Indiana.

        131. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        132. By virtue of the false and fraudulent claims made by Walgreens, Indiana suffered
damages and therefore is entitled to damages, to be determined at trial, plus a civil penalty for

each violation.

                                           Count 11
                                 (Presentation of False Claim)
                                             Iowa
                                 (Iowa Code Ann. $ 685.2(1)(a))

        133. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.




                                                 24
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 25 of 56 PageID #:25




        134. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to Iowa.

        135. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        136. By virtue of the false and fraudulent claims made by Walgreens, Iowa suffered
damages and therefore is entitled to damages, to be determined at trial, plus a civil penalty for

each violation.

                                              Count 1"2
                                  (Presentation of False Claim)
                                             Louisiana
                                   (La. Stat. Ann.$ 46:438.3 A)

        137. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        138. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to Louisiana.

        139. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        140. By virtue of the false and fraudulent claims made by Walgreens, Louisiana
suffered damages and therefore is entitled to damages, to be determined at trial, plus a civil

penalty for each violation.




                                                 25
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 26 of 56 PageID #:26




                                              Count 13
                                    (Presentation of False Claim)
                                             Maryland
                              (Md. Health-Gen. Code Ann. $ 2-602(a)(l))

        l4l.    Relator incorporates by reference paragraphs 1 through 96 of this Complaint as if

set forth fully herein.

        142. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to Maryland.

        143. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        144. By virtue of the false and fraudulent claims made by Walgreens, Maryland
suffered damages and therefore is entitled to damages, to be determined at trial, plus a civil

penalty for each violation.

                                             Count 14
                                   (Presentation of False Claim)
                                           Massachusetts
                              (Mass. Gen. Laws Ann. Ch. 12, g 5B(a)(l)

        145. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        146. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to Massachusetts.

        I47. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions




                                                 26
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 27 of 56 PageID #:27




which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        148. By virtue of the false and fraudulent claims made by Walgreens, Massachusetts
suffered damages and therefore is entitled to damages, to be determined at trial, plus a civil

penalty for each violation.

                                            Count 15
                                  (Presentation of False Claim)
                                            Michigan
                              (Mich. Comp. Laws Ann. g 400.603-1)

        I49. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        150. Defendant Walgreens knowingly made or caused to be made a false statement or
representation of a material fact to Michigan for Medicaid benefits.

        151. These false statements or representations by Walgreens are related to claims for
reimbursement of controlled substance prescriptions which were not dispensed as required with

the pharmacist exercising sound professional judgment.

        152. By virtue of the false and fraudulent claims made by Walgreens, Michigan
suffered damages and therefore is entitled to damages, to be determined at trial, plus a civil

penalty for each violation.

                                            Count 16
                                 (Presentation of False Claim)
                                           Minnesota
                                (Minn. Stat. Ann. $ 15C.02(a)(1)

        153. Relator incorporates by reference paragraphs 1 through 96 of this Complaint as if
set forth fully herein.




                                                27
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 28 of 56 PageID #:28




        154. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to Minnesota.

        155. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        156. By virtue of the false and fraudulent claims made by Walgreens, Minnesota
suffered damages and therefore is entitled to damages, to be determined at trial, plus a civil

penalty for each violation.

                                           Count 17
                                 (Presentation of False Claim)
                                           Montana
                               (Mont. Code Ann. $ l7-8-403(1Xa))

        157. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        158. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to Montana.

        159. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        160. By virtue of the false and fraudulent claims made by Walgreens, Montana
suffered damages and therefore is entitled to damages, to be determined at trial, plus a civil

penalty for each violation.




                                                 28
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 29 of 56 PageID #:29




                                           Count 18
                                 (Presentation of False Claim)
                                            Nevada
                              (Nev.Rev. Stat. Arur. $ 357.0a0(1Xa))

        161. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        162. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to Nevada.

        163. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        164. By virtue of the false and fraudulent claims made by Walgreens, Nevada suffered
damages and therefore is entitled to damages, to be determined at trial, plus a civil penalty for

each violation.

                                             Count 19
                                  (Presentation of False Claim)
                                         New Hampshire
                              (I{.H. Rev. Stat. Ann. $ 167:61-b I(a))

        165. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        166. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to the New Hampshire Department of Health and

Human Services.

        167. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions



                                                29
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 30 of 56 PageID #:30




which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        168. By virtue of the false and fraudulent claims made by Walgreens, New Hampshire
suffered damages and therefore is entitled to damages, to be determined at trial, plus a civil

penalty for each violation.

                                            Count 20
                                  (Presentation of Fdlse Claim)
                                            New Jersey
                                  (N.J. Stat. Ann. $ 2A:32C-3-a)

        169. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        170. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to New Jersey.

        17l. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        172. By virtue of the false and fraudulent claims made by Walgreens, New Jersey
suffered damages and therefore is entitled to damages, to be determined at trial, plus a civil

penalty for each violation.

                                            Count 2l
                                  (Presentation of False Ctaim)
                                          New Mexico
                                  (N.M. Stat. Ann. 5 27-14-4-A)

        173. Iielator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.




                                                 30
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 31 of 56 PageID #:31




        174. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to New Mexico.

        175. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        176. By virtue of the false and fraudulent claims made by Walgreens, New Mexico
suffered damages and therefore is entitled to damages, to be determined at trial, plus a civil

penalty for each violation.

                                             Count22
                                  (Presentation of False Claim)
                                            New York
                                 (N.Y. State Fin. Law $ 189-l(a))

        177. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        178. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to New York.

        179. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        180. By virtue of the false and fraudulent claims made by Walgreens, New York
suffered damages and therefore is entitled to damages, to be determined attrial, plus a civil

penalty for each violation.




                                                 3l
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 32 of 56 PageID #:32




                                               Count 23
                                     (Presentation of False Claim)
                                            North Carolina
                                  (N.C. Gen. Stat. Ann. $ l-607(aX1))

        18 1   .   Relator incorporates by reference paragraphs I through 96 of this Complaint as if

set forth fully herein.

        182. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to North Carolina.

        183. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        184. By virtue of the false and fraudulent claims made by Walgreens, North Carolina
suffered damages and therefore is entitled to damages, to be determined at trial, plus a civil

penalty for each violation.

                                                Count 24
                                     (Presentation of False Claim)
                                               0klahoma
                                 (okla. Stat. Ann. tit. 63, $ 5053.1-8.1)

        185. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        186. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to Oklahoma.

        187. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions




                                                   32
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 33 of 56 PageID #:33




which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        188. By virtue of the false and fraudulent claims made by Walgreens, Oklahoma
suffered damages and therefore is entitled to damages, to be determined attrial,plus a civil

penalty for each violation.

                                             Count 25
                                  (Presentation of False Claim)
                                           Rhode Island
                              (9 R.I. Gen. Laws Ann. $ 9-1.1-3(aX1))

        189. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        190. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to Rhode Island.

        191. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        192. By virtue of the false and fraudulent claims made by Walgreens, Rhode Island
suffered damages and therefore is entitled to damages, to be determined at trial, plus a civil

penalty for each violation.

                                            Count 26
                                  (Presentation of False Claim)
                                            Tennessee
                               (Tenn. Code Ann. $ 4-18-103(a)(l))

        193. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.




                                                33
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 34 of 56 PageID #:34




        194. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to Tennessee.

        195. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        196. By virtue of the false and fraudulent claims made by Walgreens, Tennessee
suffered damages and therefore is entitled to damages, to be determined at trial, plus a civil

penalty for each violation.

                                             Count2T
                                  (Presentation of False Claim)
                                              Texas
                              (Tex. Hum. Res. Code Ann. $ 36.002(l))

        197. Relator incorporates by reference paragraphs 1 through 96 of this Complaint as if
set forth fully herein.

        198. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to the Texas Medicaid Program.

        199. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        200. By virtue of the false and fraudulent claims made by Walgreens, Texas suffered
damages and therefore is entitled to damages, to be determined attrial, plus a civil penalty for

each violation.




                                                 34
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 35 of 56 PageID #:35




                                            Count 28
                                  (Presentation of False Claim)
                                             Vermont
                                (vt. Stat. Ann. tit. 32, $ 631(aXl))

        201. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        202. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to Vermont.

        203. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens afe related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        204. By virtue of the false and fraudulent claims made by Walgreens, Vermont
suffered damages and therefore is entitled to damages, to be determined at trial, plus a civil

penalty for each violation.

                                            Count 29
                                  (Presentation of False Claim)
                                             Virginia
                                (Va. Code Ann. $ 8.01-216.3-Al)

        205. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set fonh fully herein.

        206. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to Virginia.

        207. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions




                                                 35
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 36 of 56 PageID #:36




which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        208. By virtue of the false and fraudulent claims made by Walgreens, Virginia suffered
damages and therefore is entitled to damages, to be determined at trial, plus a civil penalty for

each violation.

                                             Count 30
                                   (Presentation of False Claim)
                                           Washington
                              (Wash. Rev. Code Ann. $ 74.66.020(lXa))

        209. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        210. Defendant Walgreens knowingly presented, or caused to be presented, false and
fraudulent claims for payment or approval to Washington.

        211. These false or fraudulent claims presented or caused to be presented for payment
by Walgreens are related to claims for reimbursement of controlled substance prescriptions

which were not dispensed as required with the pharmacist exercising sound professional

judgment.

        212. By virtue of the false and fraudulent claims made by Walgreens, Washington
suffered damages and therefore is entitled to damages, to be determined at trial, plus a civil

penalty for each violation.

                                             Count 31
                                     (Conceal an Obligation)
                                           United States
                                    (31 u.s.c. $ 372e(a)(l)(G))

        213. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.




                                                 36
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 37 of 56 PageID #:37




        214. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to the United States.

        215. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
iederal and/or state funded health care programs that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        216. By virtue of Walgreens concealing its obligation to transmit money to the United
States, the United States suffered damages and therefore is entitled to damages, to be determined

at trial, plus a civil penalty for each violation.

                                             Count 32
                                       (Conceal an Obligation)
                                                California
                                 (Cal. Gov't Code Ann. $ 12651(a)(7))

        217. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        218. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to California.

        219. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal andlor state funded health care programs that were not reversed by Walgreens even after

Walgreens kneW that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        220. By virtue of Walgreens concealing its obligation to transmit money California,
California suffered damages and therefore is entitled to damages, to be determined attrial, plus a

civil penalty for each violation.




                                                     37
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 38 of 56 PageID #:38




                                             Count 33
                                     (Conceal an Obligation)
                                             Colorado
                             (Colo. Rev. Stat. Arur. $ 25.5-4-305(lXf))

        221. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        222. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Colorado.

        223. These false or fraudulent claims relate to prescriptions billed the Colorado
Medical Assistance Act or other federal and/or state funded health care progftrms that were not

reversed by Walgreens even after Walgreens knew that these prescriptions were fake, that

payment was not authorized, and that Walgreens received funds to which it was not entitled.

        224. By virtue of Walgreens concealing its obligation to transmit money to Colorado,
Colorado suffered damages and therefore is entitled to damages, to be determined at trial, plus a

civil penalty for.each violation.

                                            Count 34
                                    (Conceal an Obligation)
                                          Connecticut
                               (Conn. Gen. Stat. Ann. $ a-275(a)(8))

        225. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        226. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Connecticut.

        227. These false or fraudulent claims relate to prescriptions billed to a state-
administered health or human services program, Medicaid or other federal and/or state funded

health care programs that were not reversed by Walgreens even after Walgreens knew that these



                                                38
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 39 of 56 PageID #:39




prescriptions were fake, that payment was not authorized, and that Walgreens received funds to

which it was not entitled.

        228. By virtue of Walgreens concealing its obligation to transmit money to
Connecticut, Connecticut suffered damages and therefore is entitled to damages, to be

determined at trial, plus a civil penalty for each violation.

                                            Count 35
                                      (Conceal an Obligation)
                                            Delaware
                                (Del. Code Ann. tit. 6, $ 1201(a)(7))

        229. Relator incorporates by reference paragraphs 1 through 96 of this Complaint as if
set forth fully herein.

        230. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Delaware.

        231. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care programs that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        232. By virtue of Walgreens concealing its obligation to transmit money to Delaware,
Delaware suffered damages and therefore is entitled to damages, to be determined at trial, plus a

civil penalty for.each violation.

                                                Count 36
                                       (Conceal an Obligation)
                                                 Florida
                                    (Fla. Stat. Arm. $ 68.082(2)(9))

        233. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.




                                                  39
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 40 of 56 PageID #:40




        234. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Florida.

        235. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care programs that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        236. By virtue of Walgreens concealing its obligation to transmit money to Florida,
Florida suffered damages and therefore is entitled to damages, to be determined at trial, plus a

civil penalty for each violation.

                                                Count 37
                                         (Conceal an Obligation)
                                                Georgia
                                    (Ga. Code Arm. $ 49-4-168.1(aX7))

        237. Relatorincorporates by reference paragraphs 1 through 96 of this Complaint as if
set forth fully herein.

        238. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Georgia.

        239. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care programs that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        240. By virtue of Walgreens concealing its obligation to transmit money to Georgia,
Georgia suffered damages and therefore is entitled to damages, to be determined at trial, plus a

civil penalty for each violation.




                                                   40
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 41 of 56 PageID #:41




                                           Count 38
                                     (Conceal an Obligation)
                                               Hawaii
                               (Haw. Rev. Stat. Ann. $ 661-21(a)(6))

        241. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        242. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Hawaii.

        243. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care programs that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        244. By virtue of Walgreens concealing its obligation to transmit money to Hawaii,
Hawaii suffered damages and therefore is entitled to damages, to be determined at trial, plus a

civil penalty for each violation.

                                           Count 39
                                     (Conceal an Obligation)
                                               IIIinois
                               (740 Ill. Comp. Stat. g I 7513(a)(1)(c))

        245. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        246. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Illinois.

        247. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care programs that were not reversed by Walgreens even after




                                                 41
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 42 of 56 PageID #:42




Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        248. By virtue of Walgreens concealing its obligation to transmit money to Illinois
States, Illinois suffered damages and therefore is entitled to damages, to be determined at trial,

plus a civil penalty for each violation.

                                            Count 40
                                      (Conceal an Obligation)
                                             Indiana
                               (Ind. Code Ann. $ s-rt-S.7-2(a)(6(B))

        249. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        250. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Indiana.

        251. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care programs that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        252. By virtue of Walgreens concealing its obligation to transmit money to Indiana,
Indiana suffered damages and therefore is entitled to damages, to be determined at trial, plus a

civil penalty for each violation.

                                              Count 41
                                       (Conceal an Obligation)
                                                Iowa
                                    (Iowa Code Ann. $ 685.2(l)(g))

        253. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.




                                                 42
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 43 of 56 PageID #:43




        254. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Iowa.

        255. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
fbderal and/or state funded health care programs that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        256. By virtue of Walgreens concealing its obligation to transmit money to Iowa, Iowa
suffered damages and therefore is entitled to damages, to be determined attrial, plus a civil

penalty for each violation.

                                               Count 42
                                      (Conceal an Obligation)
                                              Louisiana
                                    (La. Stat. Arm. $ 46:438.3 C)

        257. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        258. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Lousiianna.

        259. These false or fraudulent claims relate to prescriptions billed to the medical
assistance program, Medicaid or other federal and/or state funded health care programs that were

not reversed by Walgreens even after Walgreens knew that these prescriptions were fake, that

payment was not authorized, and that Walgreens received funds to which it was not entitled.

        260. Iiy virtue of Walgreens concealing its obligation to transmit money to Louisiana,
Louisiana suffered damages and therefore is entitled to damages, to be determined attrial, plus a

civil penalty for each violation.




                                                 43
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 44 of 56 PageID #:44




                                           Count 43
                                     (Conceal an Obligation)
                                            Maryland
                            (Md. Health-Gen. Code Ann. $ 2-602(a)(8))

        261. Relator incorporates by reference paragraphs 1 through 96 of this Complaint as if
set forth fully herein.

        262. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Maryland.

        263. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care programs that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        264. By virtue of Walgreens concealing its obligation to transmit money to Maryland,
Maryland suffered damages and therefore is entitled to damages, to be determined attrial, plus a

civil penalty for each violation.

                                            Count 44
                                     (Conceal an Obligation)
                                          Massachusetts
                             (Mass. Gen. Laws Ann. ch. 12, $ 5B(a)(9))

        265. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        266. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Massachusetts.

        267. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care programs that were not reversed by Walgreens even after




                                                44
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 45 of 56 PageID #:45




Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        268. By virtue of Walgreens concealing its obligation to transmit money to
Massachusetts, Massachusetts suffered damages and therefore is entitled to damages, to be

determined at trial, plus a civil penalty for each violation.

                                            Count 45
                                     (Conceal an Obligation)
                                            Michigan
                               (Mich. Comp. Laws Ann. $ 400.603-3)

        269. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        270. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Michigan.

        271. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care programs that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        272. By virtue of Walgreens concealing its obligation to transmit money to Michigan,
Michigan suffered damages and therefore is entitled to damages, to be determined at trial, plus a

civil penalty for each violation.

                                                Count 46
                                        (Conceal an Obligation)
                                               Minnesota
                                    (Minn. Stat. Ann. $ 15C.02(a)(7))

        273. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.




                                                   45
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 46 of 56 PageID #:46




        274. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Minnesota.

        275. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care programs that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        276. By virtue of Walgreens concealing its obligation to transmit money to Minnesota,
Minnesota suffered damages and therefore is entitled to damages, to be determined at trial, plus a

civil penalty for each violation.

                                            Count 47
                                     (Conceal an Obligation)
                                            Montana
                                (Mont. Code Ann. $ 17-8-403(tXe))

        277. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        278. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Montana.

        279. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care programs that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        280. By virtue of Walgreens concealing its obligation to transmit money to Montana,
Montana suffered damages and therefore is entitled to damages, to be determined at trial, plus a

civil penalty for each violation.




                                               46
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 47 of 56 PageID #:47




                                            Count 48
                                     (Conceal an Obligation)
                                             Nevada
                               (Nev.Rev. Stat. Ann. $ 357.040(1)(9))

        281. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        282. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Nevada.

        283. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care programs that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        284. By virtue of Walgreens concealing its obligation to transmit money to Nevada,
Nevada suffered damages and therefore is entitled to damages, to be determined at trial, plus a

civil penalty for each violation.

                                             Count 49
                                    (Conceal an Obligation)
                                        New Hampshire
                           (N.H. Rev. Stat. Am. $ 167:61-b I(e) and (f))

        285. Relator incorporates by reference paragraphs 1 through 96 of this Complaint as if
set forth fully herein.

        286. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property or failed to disclose the inadvertent

submission of a.false claim to New Hampshire.

        287. These false or fraudulent claims relate to prescriptions billed to the Department of
health and human services, Medicaid or other federal andlor state funded health care programs



                                                47
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 48 of 56 PageID #:48




that were not reversed by Walgreens even after Walgreens knew that these prescriptions were

fake, that payment was not authorized, and that Walgreens received funds to which it was not

entitled.

        288. By virtue of Walgreens concealing its obligation to transmit money to New
Hampshire, New Hampshire suffered damages and therefore is entitled to damages, to be

determined attrial, plus a civil penalty for each violation.

                                                Count 50
                                      (Conceal an Obligation)
                                              New Jersey
                                    (N.J. Stat. Arm.$ 2A:32C-3-g)

        289. Relator incorporates by reference pa.ragraphs 1 through 96 of this Complaint as if
set forth fully herein.

        290. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to New Jersey.

        291. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care programs that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        292. By virtue of Walgreens concealing its obligation to transmit money to New
Jersey, New Jersey suffered damages and therefore is entitled to damages, to be determined at

trial, plus a civil penalty for each violation.




                                                  48
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 49 of 56 PageID #:49




                                               Count 51
                                       (Conceal an Obligation)
                                             New Mexico
                                     (N.M. Stat. Ann. 527-14-4-E)

        293. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        294. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to New Mexico.

        295. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care programs that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        296. By virtue of Walgreens concealing its obligation to transmit money to New
Mexico, New Mexico suffered damages and therefore is entitled to damages, to be determined at

trial, plus a civil penalty for each violation.

                                               Count 52
                                      (Conceal an Obligation)
                                              New York
                                   (N.Y. State Fin. Law $ 189-l(h))

        297. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        298. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to New York.

        299. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal andior siate funded health care programs that were not reversed by Walgreens even after




                                                  49
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 50 of 56 PageID #:50




Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        300. By virtue of Walgreens concealing its obligation to transmit money to New York,
New York suffered damages and therefore is entitled to damages, to be determined at trial, plus a

civil penalty for each violation.

                                              Count 53
                                      (Conceal an Obligation)
                                          North Carolina
                                 (N.C. Gen. Stat. Ann. $ 1-607(aX7)

        301. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        302. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to North Carolina.

        303. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care progrnms that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        304. By virtue of Walgreens concealing its obligation to transmit money to North
Carolina, North Carolina suffered damages and therefore is entitled to damages, to be determined

at trial, plus a civil penalty for each violation.

                                               Count 54
                                       (Conceal an Obligation)
                                              Oklahoma
                                (okla. stat. Ann. tit.63, $ 5053.1-B.7)

        305. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.




                                                     50
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 51 of 56 PageID #:51




        306. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Oklahoma.

        307. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care programs that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        308. By virtue of Walgreens concealing its obligation to transmit money to Oklahoma,
Oklahoma suffered damages and therefore is entitled to damages, to be determined at trial, plus a

civil penalty for each violation.

                                               Count 55
                                        (Conceal an Obligation)
                                             Rhode Island
                                (9 R.I. Gen. Laws Ann. $ 9-1.1-3(a)(7))

        309. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        310. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Rhode Island.

        3l l.   These false or fraudulent claims relate to prescriptions billed to Medicaid or other

federal and/or state funded health care programs that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        312. By virtue of Walgreens concealing its obligation to transmit money to Rhode
Island, Rhode Island suffered damages and therefore is entitled to damages, to be determined at

trial, plus a civil penalty for each violation.




                                                  51
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 52 of 56 PageID #:52




                                            Count 56
                                      (Conceal an Obligation)
                                           Tennessee
                             (Tenn. Code Ann. $ 4-18-103(aX7) and (8))

        3I   3. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

         314. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property or failed to disclose the inadvertent

submission of a.false claim to Tennessee.

        315. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care progftrms that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

        316. By virtue of Walgreens concealing its obligation to transmit money to Tennessee,
Tennessee suffered damages and therefore is entitled to damages, to be determined attrial, plus a

civil penalty for each violation.

                                            Count 57
                                     (Conceal an Obligation)
                                              Texas
                             (Tex. Hum. Res. Code Ann. $ 36.002(10)

        317. Relator incorporates by referen ce paragraphs I through 96 of this Complaint as if
set forth fully herein.

        318. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Texas.

        319. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care programs that were not reversed by Walgreens even after



                                                 52
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 53 of 56 PageID #:53




Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

         320. By virtue of Walgreens concealing its obligation to transmit money to Texas,
Texas suffered damages and therefore is entitled to damages, to be determined at trial, plus a

civil penalty for each violation.

                                               Count 58
                                         (Conceal an Obligation)
                                                Vermont
                                    (VL Stat. Ann. tit. 32, $ 631(a)(10))

        321. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        322. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Vermont.

        323. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care progrilms that were not reversed by Walgreens even after

Walgreens knew that thlse prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

         324. By virtue of Walgreens concealing its obligation to transmit money to Vermont,
Vermont suffered damages and therefore is entitled to damages, to be determined at trial, plus a

civil penalty for each violation.

                                               Count 59
                                         (Conceal an Obligation)
                                                  Virginia
                                     (Va. Code Ann. $ 8.01-216.3-47)

        325. Relator incorporates by reference paragraphs 1 through 96 of this Complaint as if
set forth fully herein.




                                                     53
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 54 of 56 PageID #:54




         326. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Virginia.

        327. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care programs that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

         328. By virtue of Walgreens concealing its obligation to transmit money to Virginia,
Virginia suffered damages and therefore is entitled to damages, to be determined at trial, plus a

civil penalty for each violation.

                                            Count 60
                                     (Conceal an Obligation)
                                          Washington
                             (Wash. Rev. Code Ann. $ 74.66.020(1)(g))

        329. Relator incorporates by reference paragraphs I through 96 of this Complaint as if
set forth fully herein.

        330. Defendant Walgreens knowingly concealed or knowingly and improperly avoided
an obligation to pay or transmit money or property to Washington.

        331. These false or fraudulent claims relate to prescriptions billed to Medicaid or other
federal and/or state funded health care programs that were not reversed by Walgreens even after

Walgreens knew that these prescriptions were fake, that payment was not authorized, and that

Walgreens received funds to which it was not entitled.

         332. By vinue of Walgreens concealing its obligation to transmit money to
Washington, Washington suffered damages and therefore is entitled to damages, to be

determined at trial, plus a civil penalty for each violation.




                                                  54
    Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 55 of 56 PageID #:55




        WHEREFORE, Relator prays that the Court enter judgment against Defendant and in

favor of the Governments and Relator as follows:

        a.       Order Defendant to cease and desist from violating the False Claims Act as

stated herein;

       b.        Award the Governments the ma:<imum amount of damages as allowed under the

Governments False Claims Acts, based on the damages the Governments sustained as a result of

Defendant's actions, as well as the morimum amount of civil penalties, as permitted, for each

violation of the False Claims Act;

       c.        Award Relator Mr. Novak the ma:<imum reward allowed pursuant to the qui tam

provisions of the Governments' False Claims Acts;

       d.        Award Relator Mr. Novak all costs and expenses of this action, including

Attorney's fees; and

       e.        Award the Governments and RelatorNovak all such relief as the Court deems just

and proper




                                                55
     Case: 1:18-cv-05452 Document #: 1 Filed: 08/10/18 Page 56 of 56 PageID #:56




                                       JURY DEMAI\ID

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the Relators hereby demands

trial by jury.

                                            Respectfully Submitted,
                                            THE UNITED STATES OF AMERICA
                                            ex rel. T.J. NOVAK, et al.,




                                            By:

                                            Counsel for Relator/Plaintiff T.J. Novak

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                                               56
